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                    UNITED STATES BANKRUPTCY COURT
                 WESTERN DISTRICT OF MICHIGAN (GRAND RAPIDS)

IN THE MATTER OF:

Edward John Witkowski                                Bankruptcy Case No. 24-01801-jwb
                                                     Honorable James W. Boyd
                                                     Chapter 7
                      Debtor.
                                   /
Kelly M. Hagan, Trustee,

                      Plaintiff,

v.                                                   Adversary Proceeding No.

Angela Morgan,

                      Defendant.
                                       /

      TRUSTEE’S COMPLAINT TO AVOID TRANSFERS PURSUANT TO 11 U.S.C.
     §548(a)(1), FOR RECOVERY OF THE VALUE OF THE AVOIDED TRANSFERS
               PURSUANT TO 11 U.S.C. §550 AND FOR THE IMPOSITION
                          OF A CONSTRUCTIVE TRUST

       Trustee, Kelly M. Hagan (“Trustee”), by and through her attorneys, Beadle Smith, PLC, states

for her Complaint to Avoid Transfers Pursuant to 11 U.S.C. §548(a)(1), for Recovery of the Value of

the Avoided Transfers Pursuant to 11 U.S.C. §550 and for the Imposition of a Constructive Trust

(“Complaint”) as follows:

                                            Jurisdiction

       1.      Angela Morgan, f/k/a Angela Witkowski (“Defendant”) is an individual residing at

4678 Lands End, Traverse City, MI 49686.

       2.      At the time of the transfers sought to be avoided herein, Defendant was the wife of the

Debtor, Edward John Witkowski.
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        3.     This Court has jurisdiction to preside over this proceeding, pursuant to 28 U.S.C.

§ 1334.

        4.     This adversary proceeding relates to the Chapter 7 bankruptcy proceeding of Edward

John Witkowski, United States Bankruptcy Court, Western District of Michigan, Case No. 24-01801-

jwb.

        5.     This Adversary Proceeding is a core proceeding, pursuant to 28 U.S.C. § 157(b)(2)(H).

        6.     Venue is proper in this Court pursuant to 28 U.S.C. §1408 and §1409.

                                       General Allegations

        7.     On July 9, 2024, Edward John Witkowski (“Debtor”) filed a Voluntary Petition under

Chapter 7 of the Bankruptcy Reform Act of 1978 as Amended, Title 11 (“Petition Date”).

        8.     Kelly M. Hagan was appointed the duly qualified and acting Trustee in this matter.

        9.     In 2021, Debtor and Defendant acquired Morsels, a bakery and coffee shop in Traverse

City, Michigan.

        10.    On August 28, 2023, an employee at Morsels discovered a hidden camera in the

women’s bathroom.

        11.    On November 8, 2023, a felony complaint was filed against the Debtor for the use of

a computer program, computer, computer system, or computer network to commit, attempt to commit,

conspire to commit, or solicit another to commit capturing/distributing an image of an unclothed

person; contrary to MCL 752.796 and MCL 752.797(3)(d).

        12.    On or about November 22, 2023, Debtor and Defendant were put on notice of the intent

of a former employee to file a civil complaint against the two of them.

        13.    Shortly after the filing of the felony complaint and the notice by a former employee of

her intent to sue, Debtor and Defendant developed a plan to shield their assets.
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       14.     On December 20, 2023, Debtor transferred his one-half interest in two parcels of real

property commonly known as 116 North Oak Street, Traverse City, Michigan (“Oak Street”) and 128

Gillis Street, Traverse City, Michigan 49684 (“Gillis Street”)(collectively referred to as the “Real

Property”) to Defendant for no consideration (the “Real Property Transfers”). A copy of the deed is

attached hereto as Exhibit A.

       15.     On February 15, 2024, Defendant transferred Gillis Street for the sum of $560,000.00.

A copy of the Gillis Street deed is attached hereto as Exhibit B.

       16.     On March 15, 2024, Defendant transferred Oak Street for the sum of $1,195,000.00.

A copy of the Oak Street deed is attached hereto as Exhibit C.

       17.     Defendant netted the sum of $513,932.51 from the sale of Gillis Street and $330,576.16

from the sale of Oak Street.

       18.     Defendant utilized the proceeds from the sale of Oak Street and Gillis Street to

purchase real property in her sole name commonly known as 4678 Lands End, Traverse City, MI

49686 (“Lands End”) which is the address of the Debtor and Defendant.

       19.     At the time of the Real Property Transfers, Debtor’s assets had a value of less than the

obligations owed by the Debtor to his creditors.

       20.     As a result of the Real Property Transfers, Debtor’s assets had a value of less than the

obligations owed by the Debtor to his creditors.

       21.     At the time of the Real Property Transfers, Debtor was indebted to Capital One, Clover,

CLS, First Data Global Leasing, Morsels LLC, John & Loretta Witkowski, Olivia Scholten, Sophia

Shuff and Marlee Rickert.
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                                               COUNT I

       AVOIDANCE BY THE TRUSTEE OF THE REAL PROPERTY TRANSFERS
                    PURSUANT TO 11 U.S.C. §548(a)(1)(B)

        22.     Trustee re-alleges and reincorporates Paragraphs 1 through 21 above as though more

fully set forth herein.

        23.     The Real Property Transfers occurred within two years before the Petition Date.

        24.     Debtor received less than a reasonably equivalent value in exchange for the Real

Property Transfers.

        25.     Debtor was insolvent on the date of the Real Property Transfers or became insolvent

as a result of such Real Property Transfers.

        26.     Defendant did not act in good faith in receiving the benefit of the Real Property

Transfers.

        WHEREFORE, the Trustee prays that this Honorable Court avoid the Real Property Transfers

pursuant to 11 U.S.C. §548(a)(1)(B) and grant all other just and equitable relief this Court deems

appropriate.

                                               COUNT II

       AVOIDANCE BY THE TRUSTEE OF THE REAL PROPERTY TRANSFERS
                    PURSUANT TO 11 U.S.C. §548(a)(1)(A)


        27.     Trustee re-alleges and reincorporates Paragraphs 1 through 26 above as though more

fully set forth herein.

        28.     Debtor made the Real Property Transfers with the actual intent to hinder, delay or

defraud an entity to which the Debtor was or became, on or after the date that such transfer was made,

indebted.
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        29.     Defendant did not act in good faith in receiving the benefit of the Real Property

Transfers.

        WHEREFORE, the Trustee prays that this Honorable Court avoid the Real Property Transfers

pursuant to 11 U.S.C. §548(a)(1)(A) and grant all other just and equitable relief this Court deems

appropriate.



                                             COUNT III

         RECOVERY OF AVOIDED TRANSFERS PURSUANT TO 11 U.S.C. §550

        34.     Trustee re-alleges and reincorporates Paragraphs 1 through 29 above as though more

fully set forth herein.

        35.     The value of the Debtor’s interest in the avoided Real Property Transfers is

$422,254.33.

        36.     Defendant is the entity for whose benefit the Real Property Transfers were made.

        WHEREFORE, Trustee prays that this Honorable Court enter a judgment in favor of Plaintiff

and against Defendant for the sum of $422,254.33 pursuant to 11 U.S.C. §550, plus interest.

                                             COUNT IV

                          IMPOSITION OF A CONSTRUCTIVE TRUST

        37.     Trustee re-alleges and reincorporates Paragraphs 1 through 36 above as though more

fully set forth herein.

        38.     Defendant received the benefit of Debtor’s interest in the sale proceeds from the sale

of the Oak Street and Gillis Street properties.

        39.     Defendant utilized the sale proceeds from Oak Street and Gillis Street to purchase the

Lands End property.
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       40.       It is unjust to permit Defendant to utilize proceeds that rightfully belong to the Debtor

for the purchase of the Lands End property.

       WHEREFORE, Plaintiff Trustee requests that this Honorable Court impose a constructive trust

against the Lands End property in favor of Plaintiff Trustee in the amount of $422,254.33.

                                        Respectfully submitted,

                                        BEADLE SMITH, PLC


                                        By: /s/ Kevin M. Smith
                                        Kevin M. Smith (P48976)
                                        Attorneys for Trustee
                                        P.O. Box 70656
                                        Rochester Hills, MI 48307
                                        (586) 850-1492
Dated: 11/1/24                          ksmith@bbssplc.com
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              EXHIBIT A
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               EXHIBIT B
UNOFFICIAL COPY
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                                                                        •• • REAL ESTATE                           *
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                                                                                                                                           GRAND TRAVERSE COUNTY
                                                                                                                                       RECORDED 03/01/2024 11:57:07 AM
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       certify that there are no Tax ZLiens or Tilles held by the Slale of any individual against the within
       destriplion, and all laxes on same are paid for five years previous lo the dale of the instrument as                                      PAGE 1 OF 3
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       TownshipCily orVl~ge                                              Grand Traverse CounlyTreasurer

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                                                                                                               WARRANTY DEED

    The Grantor(s): Angela Clara Witkowski
    whose address is, 116 North Oak Street, Traverse City, MI 49684,
    Convey and Warrant to: Anja Harmon and Tyler Harmon,Wife and Husband
    whose address is , 5893 Stratford Glen Ct SE, Grand Rapids, MI 49546,
    the following described premises situated in the City of Traverse City, County of Grand Traverse and State of Michigan,
    to-wit:

    SEE ATTACHED EXHIBIT "A"
    Commonly known as:                                 128 Gillis Street, Traverse City, Michigan 49684
    Tax parcel number(s):                              28-51-162-003-01

    For the sum of: Five Hundred Sixty Thousand and 00/100 Dollars ($560,000.00)
    Subject to:


                                         ,,,,-M,--
    Dated: February                __\2, 2024




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                                                            .         .                        ~
            (Attached to and becoming a part of tlte Warranty Deed dated February~' 2024, Capital Title
            Insurance Agency, Inc. File Number 649786-65 between Angela Clara Witkowski as Grantor(s) and
            Anja Harmon and Tyler Harmon as Grantee(s))

                                                                               Seller(s):




                                                                                  ~           (
                                                                                  aClam Witkowski




              STATE OF MICHIGAN                                   )

              COUNTY OF         Gvu rl 0{°',✓hvs4ss.
                                               .                         ....--0--
              Acknowledged by Angela Clara Witkowski, before me on the i.5_ day of February, 2024.




                        LISA A. MUSSE        r-r---~
                    Notary Public , State of •
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                                                                                                         Notary Public
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                  Acting in the County of _ _ _       My comm1ss1on
                                                                expires: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




             Drafted by: Angela Clara Witkowski, 116 N. Oak Street, Traverse City, MI 49684
             When recorded return to: Anja Harmon, 5893 Stratford Glen Ct SE, Grand Rapids, MI 49546




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                                                        ..
                                                                                           File Number: 649786-65


                                           EXIDBIT A - LEGAL DESCRIPTION




            The land referred to in this document is situated in the City of Traverse City, County of Grand
            Traverse, State of Michigan and described as follows:

           Unit 9, Fresh Water Flats II, according to the Master Deed recorded in Instrument No. 2021C-00008,
           as amended by First Amendment to the Master Deed recorded in Instrument No. 2021C-000l 7, Grand
           Traverse County Records, and designated as Grand Traverse County Condominium Subdivision Plan
           No. 469 together with rights in general common elements and limited common elements, as set forth in
           the above Master Deed and as described in Act 59 of the Public Acts of 1978, as amended.



            Commonly known as:         128 Gillis Street, Traverse City, Michigan 49684
            Tax parcel number(s):      28-51-162-003-01




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                                                                                        2024R-02424 Pg# 3
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               EXHIBIT C
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                                                                                                           WARRANTY DEED

  3 The Grantor(s): Angela Clara Witkowski
 1
  /) whose address is 116 N. Oak Sreet, Traverse City, MI 49684
      Convey and Warrant to: Robert Patterson, A Married Man and Angela Patterson, A Married Woman, As Joint
      Tenants with Full Rights of Survivorship
      whose address is 521 W. 8th Street, Traverse City, MI 49684
      the following described premises situated in the City of Traverse City, County of Grand Traverse and State of Michigan,
      to-wit:

      SEE ATTACHED EXHIBIT "A"
      Commonly known as:                                116 North Oak Street, Traverse City, Michigan 49684
      Tax parcel number(s):                             51-658-021-00

      For the sum of: One Million One Hundred Ninety Five Thousand and 00/100 Dollars ($1,195,000.00)
      Subject to:



      Dated: March \ ~ 2024




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              (Attached to and becoming a part of the Warranty Deed dated March , .s:;24, Capital Title
              Insurance Agency, Inc. File Number 649593-65 between Angela Clara Witkowski as Grantor(s) and
              Robert Patterson and Angela Patterson as Grantee(s))

                                                                            Seller(s):




                   STATE OF MICHIGAN                           )

                   COUNTY OF           6er,~~
                                         ('~                   )SS.
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                   Acknowledged by Angela Clara Witkowski, before me on the l )day of March, 2024.




                                                                                                 Notary Public
                                                                                           County, Michigan
                                                           Acting in -G~-(-~----,(j?'.=-:-~- r~~       County
                                                    My commission
                                                          expires:
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                  Drafted by: Angela Clara Witkowski, 116 North Oak Street, Traverse City, MI 49684
                  When recorded return to: Robert Patterson, 521 W. 8th Street, Traverse City, MI 49684




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                                                                                            File Number: 649593-65


                                             EXHIBIT A - LEGAL DESCRIPTION




              The land referred to in this document is situated in the City of Traverse City, County of Grand
              Traverse, State of Michigan and described as follows :

              Lot 42, Hannah Lay & Co's 11th Addition to Traverse City, together with the North 1/2 of the vacated
              alley adjacent to and South of said Lot 42.



              Commonly known as:         116 North Oak Street, Traverse City, Michigan 49684
              Tax parcel number(s):      51-658-021-00




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